Case 2:09-cr-00013-JES-SPC Document 70 Filed 07/14/09 Page 1 of 2 PageID 216



                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                          FORT MYERS DIVISION


UNITED STATES OF AMERICA


vs.                                                 2:09-cr-13-FtM-29SPC

MICHELLE MCKAY

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                            OPINION AND ORDER

      On June 24, 2009, United States Magistrate Judge Sheri Polster

Chappell submitted a Report and Recommendation (Doc. #68) to the

Court recommending that Defendant’s Motion to Suppress Evidence

(Doc. #53) be denied.       On July 13, 2009, counsel for defendant

advised the Court at the status conference that no objections would

be filed.

      After conducting a careful and complete review of the findings

and recommendations, a district judge may accept, reject or modify

the magistrate judge’s report and recommendation.             28 U.S.C. §

636(b)(1); Williams v. Wainwright, 681 F.2d 732, 732 (11th Cir.

1982), cert. denied, 459 U.S. 1112 (1983).       A district judge “shall

make a de novo determination of those portions of the report or

specified proposed findings or recommendations to which objection

is made.”     28 U.S.C. § 636(b)(1)(C).         This requires that the

district judge “give fresh consideration to those issues to which

specific objection has been made by a party.”         Jeffrey S. v. State

Bd. of Educ. of Ga., 896 F.2d 507, 512 (11th Cir. 1990) (quoting
Case 2:09-cr-00013-JES-SPC Document 70 Filed 07/14/09 Page 2 of 2 PageID 217



H.R. 1609, 94th Cong. § 2 (1976)).          The district judge reviews

legal conclusions de novo, even in the absence of an objection.

See Cooper-Houston v. Southern Ry., 37 F.3d 603, 604 (11th Cir.

1994).

     After    reviewing   the   Report    and   Recommendation      and   the

transcript of the evidentiary hearing (Doc. #65), the Court fully

agrees with the findings of fact and conclusions of law made by the

magistrate judge. Accordingly, the Court will adopt the Report and

Recommendation and will deny the motion to suppress evidence.

     Accordingly, it is now

     ORDERED:

     1.      The Magistrate Judge’s Report and Recommendation (Doc.

#68) is accepted and adopted, and it is specifically incorporated

into this Order.

     2.    Defendant’s Motion to Suppress Evidence (Doc. #53) is

DENIED.

     DONE AND ORDERED at Fort Myers, Florida, this           14th     day of

July, 2009.




Copies:
Magistrate Judge
Counsel of Record
DCCD

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